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16 Counsel for Defendant Google LLC

17
                           UNITED STATES DISTRICT COURT
18               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

19   CHASOM BROWN, et al., individually and         Case No. 4:20-cv-03664-YGR-SVK
     on behalf of themselves and all others
20   similarly situated,                            DECLARATION OF JOSEPH H.
                                                    MARGOLIES IN SUPPORT OF
21
                    Plaintiffs,                     PLAINTIFFS’ ADMINISTRATIVE
22                                                  MOTION TO FILE UNDER SEAL
            v.                                      PORTIONS OF PARTIES’ PRETRIAL
23                                                  CONFERENCE STATEMENT (DKT.
     GOOGLE LLC,                                    1028)
24
                    Defendant.                      Judge: Hon. Yvonne Gonzalez Rogers
25

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                                                                Case No. 4:20-cv-03664-YGR-SVK
                                  MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
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 1          I, Joseph H. Margolies, declare as follows:
 2          1.      I am an attorney with Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for
 3 Defendant Google LLC (“Google”) in this action. I am making this declaration pursuant to Civil

 4 Local Rule 79-5(e)–(f) as an attorney for Google as the Designating Party, pursuant to Civil Local

 5 Rule 79-5(f)(3) in response to Dkt. 1028.

 6          2.      On October 17, 2023, Plaintiffs filed their Administrative Motion to Seal Portions of
 7 Parties’ Pretrial Conference Statement (Dkt. 1028) (“Pretrial Statement”). On October 17, 2023, I

 8 obtained an unredacted copy of the document sought to be sealed.

 9          3.      I have reviewed the documents that Plaintiffs moved to file under seal pursuant to
10 Civil Local Rule 79-5(f). Based on my review, there is good cause to seal the following:

11       Document(s) to be Sealed                             Basis for Sealing
     Exhibit 1 – Pretrial Conference   The information requested to be sealed contains Google’s
12   Statement                         highly confidential and proprietary information regarding
13                                     highly sensitive features of Google’s internal systems and
     Pages 1:15, 3:2–4, 3:6–7, 3:18,   operations, including Google’s internal projects, data fields,
14   3:20–22, 4:18–20, 14:7, 14:18–19, and logs, as well as internal metrics, that Google maintains as
     14:21–27, 15:1, 16:26–27, 17:10, confidential in the ordinary course of its business and is not
15   18:4, 18:6–7, 18:9, 18:12–13,     generally known to the public or Google’s competitors.
     18:15–16, 20:17–18, 29:22, 30:1, Such confidential and proprietary information reveals
16   30:4, 55:4, 55:22, 61:14, 63:8,   Google’s internal strategies, system designs, and business
17   64:1, 64:3, 65:4                  practices for operating and maintaining many of its
                                       important services, and falls within the protected scope of
18                                     the Protective Order entered in this action. See Dkt. 81
                                       at 2–3. Public disclosure of such confidential and
19                                     proprietary information could affect Google’s competitive
                                       standing as competitors may alter their systems and
20
                                       practices relating to competing products. It may also place
21                                     Google at an increased risk of cybersecurity threats, as third
                                       parties may seek to use the information to compromise
22                                     Google’s internal practices relating to competing products.

23
            4.      Google’s request is narrowly tailored in order to protect its confidential information.
24
     These redactions are limited in scope and volume. Because the proposed redactions are narrowly
25
     tailored and limited to portions containing Google’s highly confidential or confidential information,
26
     Google requests that the portions of the aforementioned documents be redacted from any public
27
     version of those documents.
28

                                                   1               Case No. 4:20-cv-03664-YGR-SVK
                                     MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
      Case 4:20-cv-03664-YGR Document 1039 Filed 10/24/23 Page 3 of 3




 1         5.      Google does not seek to redact or file under seal any portions of the Pretrial Statement

 2 not indicated in the table above.

 3         I declare under penalty of perjury of the laws of the United States that the foregoing is true

 4 and correct. Executed in Bayside, Wisconsin on October 24, 2023.

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                                                  By          /s/ Joseph H. Margolies
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                                                       Joseph H. Margolies
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                                       MARGOLIES DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
